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                       3
                           Attorney for Defendant
                       4 ETHAN STUART

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                       7                        UNITED STATES DISTRICT COURT

                       8                       EASTERN DISTRICT OF CALIFORNIA

                       9

                      10 UNITED STATES OF AMERICA,

                      11              Plaintiff,                    CR. S-12-0076 TLN

                      12        v.                                  STIPULATION AND ORDER
                                                                    CONTINUING STATUS CONFERENCE
                      13 SEAN FARRELL and ETHAN STUART,             AND EXCLUDING TIME

                      14              Defendants.
                                                            /
                      15

                      16        Defendants SEAN FARRELL and ETHAN STUART, by and through

                      17 their attorneys, and plaintiff United States of America, by and

                      18 through its attorney, hereby stipulate and agree that the status

                      19 conference of May 6, 2013, at 9:30 a.m., should be continued to

                      20 June 20, 2013, at 9:30 a.m.

                      21        The primary basis for this continuance is predicated upon

                      22 the recent reassignment of this case to Hon. Troy L. Nunley.

                      23        In addition, the parties have recently met and conferred

                      24 and are working to reach a disposition of this case short of

                      25 protracted litigation.

                      26        Should this case not resolve, the parties are still ironing

                      27 out discovery related issues and working with the government to
LAW OFFICES
506 BROADWAY          28 obtain additional discovery in this matter, which is relevant
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                       1 and necessary prior to the submission of motions including the

                       2 Motion to Quash and Motion to Traverse the Warrant, both

                       3 relating to the suppression of evidence, which could be

                       4 dispositive to this case.

                       5        For these reasons, the parties respectfully request that

                       6 the Court continue the status conference date currently set for

                       7 May 6, 2013, at 9:30 a.m. and set a new status conference date

                       8 of June 20, 2013, at 9:30 a.m.

                       9        The parties agree to exclude time, based on the pendency of

                      10 the motions, pursuant to 18 U.S.C. § 3161(h)(8)(A) & (B)(i) &

                      11 (iv) and Local Code T4, and the continuity of counsel, such that

                      12 the ends of justice served by granting such a continuance

                      13 outweigh the best interests of the public and the defendant in a

                      14 speedy trial because the failure to grant such a continuance

                      15 would unreasonably deny the defendant continuity of counsel.

                      16        Accordingly, the parties stipulate and agree that time

                      17 should be excluded under the Speedy Trial Act pursuant to 18

                      18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4.            The parties

                      19 stipulate that the ends of justice are served by the Court

                      20 excluding such time, so that counsel for each defendant may have

                      21 reasonable time necessary for effective preparation, taking into

                      22 account the exercise of due diligence and continuity of counsel.

                      23 The parties further stipulate and agree that time for trial

                      24 under the Speedy Trial Act be excluded pursuant to 18 U.S.C.

                      25 § 3161(h)(1)(D) & (h)(7)(A) & (B)(iv), Local Codes E and T-4.

                      26        Dated: April 29, 2013

                      27
LAW OFFICES                 /s/J. TONY SERRA                         /s/RANDOLPH E. DAAR
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                       2                                             /s/JASON HITT
                                                                    Assistant U.S. Attorney
                       3

                       4
                                                            ORDER
                       5

                       6        Pursuant to the stipulation of the parties and good cause

                       7 appearing, IT IS HEREBY ORDERED that:

                       8        1.     The status conference in this matter set for May 6,

                       9 2013 is continued, and a new status conference be set for June

                      10 20, 2013, at 9:30 a.m.; and

                      11        3.     Based upon the representations and stipulation of the

                      12 parties, the Court finds that the time exclusion under 18 U.S.C.

                      13 § 3161(h)(8)(B)(iv) applies and the ends of justice outweigh the

                      14 best interest of the public and the defendants in a speedy

                      15 trial.      The parties further stipulate and agree that time for

                      16 trial under the Speedy Trial Act be excluded pursuant to 18

                      17 U.S.C. § 3161(h)(1)(D) & (h)(7)(A) & (B)(iv), Local Codes E and

                      18 T-4.   Accordingly, time under the Speedy Trial Act shall be

                      19 excluded from May 6, 2013 up to and including June 20, 2013.

                      20        IT IS SO ORDERED.

                      21 Dated:        May 8, 2013

                      22

                      23

                      24
                                                        Troy L. Nunley
                      25                                United States District Judge
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